                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

RONNIE ALLEN BELLAMY, JR.,

               Plaintiff,

               v.                                                CASE NO. 23-3051-JWL

STATE OF KANSAS, et al.,

               Defendants.


                                       SERVICE ORDER

       This matter is a civil rights action filed by a prisoner in the custody of the Secretary of the

Kansas Department of Corrections (“KDOC”). The Court has conducted a preliminary review of

the Second Amended Complaint and finds a responsive pleading is necessary.

       IT IS ORDERED that:

       The Clerk of the Court shall notify the Kansas Attorney General (“AG”) and the KDOC of

this Service Order. The Court requests that Defendants waive formal service of process.

       The AG and/or the KDOC shall have thirty (30) days from entry of this Service Order to

file a Waiver of Service Executed and/or a Waiver of Service Unexecuted. Upon the electronic

filing of the Waiver of Service Executed, Defendants shall have sixty (60) days to prepare a report

pursuant to Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978). Upon the filing of that report, the

Court will screen Plaintiff’s Second Amended Complaint and will enter an order setting an answer

deadline if the Second Amended Complaint survives screening. Any answer deadline set forth in

the docket entry for the waiver of service is not controlling.

       In those cases where a Waiver of Service Unexecuted is filed, the KDOC shall have ten

(10) days from the filing of the Waiver of Service Unexecuted, to supply the Clerk of Court with


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the last known forwarding addresses for former employees, said addresses to be placed under seal

and used only for the purpose of attempting to effect service of process. The KDOC shall use the

event “SEALED Notice of Last Known Addresses of KDOC Employees” to submit the sealed

addresses to the Court.

       Copies of this Service Order shall be transmitted to the AG and the KDOC.

       IT IS SO ORDERED.

       Dated May 3, 2023, in Kansas City, Kansas.

                                            S/ John W. Lungstrum
                                            JOHN W. LUNGSTRUM
                                            UNITED STATES DISTRICT JUDGE




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